             Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 1 of 18 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
           LODGED
    CLERK, U.S. DISTRICT COURT



    02/03/2022                                                                                                     FILED
                                                                                                          CLERK, U.S. DISTRICT COURT


 CENTRAL DISTRICT OF CALIFORNIA
                                                               for the
               AP
  BY: ____________BB______ DEPUTY                                                                                2/3/2022
                                                 Central District of California                        CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                 D.C.
                                                                                                         BY: ___________________ DEPUTY


 UNITED STATES OF AMERICA,

                         Plaintiff

                          v.                                                              5:22-mj-00069
                                                                         Case No.
 RUBEN VALLE ALVARADO,

                          Defendant.


     CRIMINAL COMPLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of February 2, 2022, in the county of Riverside in the Central District of California, the

defendant violated:

              Code Section                                               Offense Description
                                                                         Possession with intent to distribute at
              21 U.S.C. §§ 841(a)(1), and                                least 500 grams of a mixture or
              (b)(1)(A)(viii)                                            substance containing a detectable
                                                                         amount of methamphetamine

           This criminal complaint is based on these facts:

             Please see attached affidavit.

           _ Continued on the attached sheet.

                                                                      /s/ Pursuant to Fed. R. Crim. P. 4.1
                                                                                         Complainant’s signature

                                                                                DEA Special Agent, Joseph Kelley
                                                                                           Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed
                                                                       d R. C
                                                                            Crim.
                                                                             rim. P. 4.1 by telephone.

 Date:                       2/3/2022
                                                                                             Judge’s signature

 City and state: Riverside, California                                Hon. Shashi H. Kewalramani, U.S. Magistrate Judge
                                                                                          Printed name and title


AUSA: Byron R. Tuyay (x6230)
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 2 of 18 Page ID #:2



                               AFFIDAVIT

     I, Joseph Kelley, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

           This affidavit is made in support of a criminal

complaint against Ruben Valle ALVARADO (“ALVARADO”) for a

violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii) (possession

with intent to distribute at least 500 grams of a mixture or

substance containing a detectable amount of methamphetamine).

           This affidavit is also made in support of an

application for a warrant to search the following digital

devices (collectively, the “SUBJECT DEVICES”), in the custody of

the Drug Enforcement Administration (“DEA”) in Jurupa Valley,

California, as described more fully in Attachment A:

           a.     a silver iPhone ProMax 13 with service provider

T-Mobile, with a translucent amber tinted case that has a white

circular charging ring affixed to the back of it, (“SUBJECT

DEVICE 1”); and

           b.     a silver/white iPhone Model A1784 with a cracked

screen, bearing FCC ID: BCG-E3092A, IC: 579C-E3092A, with

service provider T-Mobile (“SUBJECT DEVICE 2”).

           The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of 21

U.S.C. § 841(a)(1) (possession with intent to distribute

controlled substances) and 21 U.S.C. § 846 (conspiracy and

attempt to distribute controlled substances) (the “Subject
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 3 of 18 Page ID #:3



Offenses”), as described more fully in Attachment B.

Attachments A and B are incorporated herein by reference.

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

search warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT

             I am a Special Agent with DEA and am an investigative

law enforcement officer of the United States within the meaning

of Section 2510(7) of Title 18 of the United States Code.           I am

empowered by law to conduct investigations and to make arrests

for felony offenses as enumerated in 18 U.S.C. § 2516.           I have
been employed with DEA since December 6, 2020, and am currently

assigned to the Riverside District Office, Task Force Group 2.

I primarily investigate narcotics trafficking and distribution

organizations operating in and around Riverside County.

             I have received 16 weeks of training at the DEA

Academy in Quantico, Virginia, which included training in

investigative techniques and procedures, legal instruction,

firearms and tactical training, and defensive tactics.           I have

attended advanced training in toll analysis, wire and electronic


                                       2
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 4 of 18 Page ID #:4



intercepts, and electronic surveillance techniques and

equipment.    I have received additional training in financial

investigations to include money laundering techniques and

methods, and the use of cryptocurrency by Drug Trafficking

Organizations (“DTOs”).

             Through the course of conducting narcotics

investigations, I have gathered open-source intelligence,

carried out physical and electronic surveillance, debriefed

informants, executed search and arrest warrants, interviewed

suspects on the methods of drug trafficking, and collaborated

with different law enforcement agencies.

                    III. SUMMARY OF PROBABLE CAUSE

             In January 2022, a federal grand jury for the Western

District of North Carolina returned an indictment and arrest

warrant for Juan Octavio Iribe-Laveaga, for conspiracy to

distribute and possess with intent to distribute

methamphetamine, filed under case number 3:22-CR-16.

             On February 1, 2022, United States Magistrate Judge

Shashi H. Kewalramani authorized a search warrant for Iribe-

Laveaga’s residence, located at 7107 Vernazza Place, Eastvale,

California 92880, filed under case number 5:22-MJ-00061.

             On February 2, 2022, DEA investigators from the

Charlotte District Office (“CDO”) and Riverside District Office

(“RDO”), in conjunction with the Riverside County Sheriff’s

Department Narc 2 Team (“RSO”), conducted an undercover

operation to purchase methamphetamine from Iribe-Laveaga.




                                       3
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 5 of 18 Page ID #:5



          RDO investigators saw ALVARADO leave Iribe-Laveaga’s

residence at 7107 Vernazza Place in a silver Toyota Corolla and

drive to The Home Depot parking lot at 6140 Hamner Avenue, Mira

Loma, California 91752.     While in the parking lot, an undercover

agent (“UC”) approached ALVARADO in the silver Toyota Corolla

and sat in the front passenger seat.       While in the Corolla

together, the UC grabbed a black duffel bag from the back seat

of the Corolla and placed it into his lap, opening it to confirm

the presence of suspected methamphetamine.        ALVARADO helped the

UC open the duffel bag and they counted the individual bundles

of suspected methamphetamine.      The UC got out of the Corolla,

ALVARADO was arrested, and the suspected methamphetamine was

seized.

          ALVARADO admitted to RSO investigators that he would

be paid $600 to deliver the methamphetamine and stated that he

did this work to provide for his family and would that he would

not do so otherwise.    ALVARADO also told RSO investigators that

he had previously completed deliveries of methamphetamine.

          The suspected methamphetamine packages recovered from

the duffel bag in ALVARADO’s Corolla field tested positive for

methamphetamine.

          The SUBJECT DEVICES were both found on ALVARADO’s

person.

                   IV. STATEMENT OF PROBABLE CAUSE

          Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:


                                       4
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 6 of 18 Page ID #:6



     A.   Background of Iribe-Laveaga Investigation

          Based on the CDO investigation leading up to Iribe-

Laveaga’s arrest warrant and indictment in the Western District

of North Carolina (3:22-CR-16) and the search warrant for his

residence in the Central District of California (5:22-MJ-00061),

CDO investigators identified Iribe-Laveaga as a DTO cell leader

responsible for distributing drugs and collecting proceeds from

drug sales.   CDO investigators successfully infiltrated Iribe-

Laveaga’s cell using several UCs.

          After several failed delivery attempts to ship

methamphetamine through USPS to North Carolina, a CDO UC agent

told Iribe-Laveaga that they could drive out to California to

pick up 30 kilograms of methamphetamine.

     B.   Meeting Between CDO UC Agent and Iribe-Laveaga

          On February 1, 2022, CDO and RDO agents, along with

RSO investigators, used two UCs to meet with Iribe-Laveaga at

the Zendeja’s Mexican Grill at 2440 South Vineyard Avenue,

Ontario, California 91761.     According to UCs, during the
meeting, Iribe-Laveaga asked the UCsabout using money laundering

services offered by the UCs.

          On February 1, 2022, before the UCsmet with Iribe-

Laveaga, RDO investigators conducting surveillance saw an

unknown Hispanic male, later identified as ALVARADO, arrive at

Iribe-Laveaga’s residence in a silver Toyota Corolla bearing

California license plate 6EYH898 and park in front of Iribe-

Laveaga’s residence.    RDO investigators then saw ALVARADO enter

and exit Iribe-Laveaga’s residence several times.         ALVARADO was


                                       5
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 7 of 18 Page ID #:7



also seen using his phone while outside the residence.

Investigators checked law enforcement databases and DMV records

confirmed that the registered owner of the silver Toyota Corolla

is Meza Elvia Laveaga.     Based on my training and experience, I

know that drug traffickers will often drive vehicles registered

to other persons, fictitious or otherwise, in an attempt to

evade law enforcement in the furtherance of their criminal

enterprise.

            While Iribe-Laveaga met with the UC agents at the

Zendeja’s Mexican Grill, RDO investigators did not observe

ALVARADO leave Iribe-Laveaga’s residence.

       C.   Discovery of 21 Pounds of Suspected Methamphetamine

            On February 2, 2022, RDO investigators established

surveillance on Iribe-Laveaga’s residence at approximately 11:00

a.m.   Investigators again saw the silver Toyota Corolla, bearing

California license plate 6EYH898, parked in front of Iribe-

Laveaga’s residence.     An RSO agent, acting in an undercover

capacity, made a recorded phone call to Iribe-Laveaga to discuss
the time and place to meet in order for the UC to receive

approximately 30 kilograms of methamphetamine, as previously

negotiated with Iribe-Laveaga.      The UC agent agreed to meet at

The Home Depot parking lot located at 6140 Hamner Avenue in Mira

Loma, California 91752.     At approximately 12:20 p.m., RDO

investigators saw Iribe-Laveaga depart his residence in a white

Audi A5.    At the same time, RDO investigators observed ALVARADO

exit the residence and depart in the silver Toyota Corolla.




                                       6
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 8 of 18 Page ID #:8



ALVARADO did not carry anything with him from the residence to

the car.

           RDO investigators maintained surveillance on ALVARADO

in the Toyota Corolla and observed him driving toward The Home

Depot parking lot.    RDO investigators lost visual contact with

ALVARADO for approximately five minutes, after which

investigators saw ALVARADO arrive and park in The Home Depot

parking lot at approximately 12:30 p.m.        Based on the five

minutes between when investigators lost and regained sight of

ALVARADO, it is likely that ALVARADO drove directly to The Home

Depot parking lot without making any stops.

           While ALVARADO was driving to The Home Depot parking

lot, RDO investigators simultaneously maintained surveillance on

Iribe-Laveaga in the white Audi A5.        RDO investigators observed

Iribe-Laveaga drive to a school parking lot where they saw a

child enter the vehicle.     RDO investigators observed Iribe-

Laveaga drive directly from the school to The Home Depot parking

lot where ALVARADO had parked some time before, arriving at
approximately 12:40 p.m.

           After Iribe-Laveaga arrived at The Home Depot parking

lot, the UC agent spoke with Iribe-Laveaga on the phone.           Iribe-

Laveaga guided the UC agent over to ALVARADO’s Toyota Corolla.

While speaking to Iribe-Laveaga, the UC agent walked up to the

driver side door of the Toyota Corolla, where ALVARADO was

sitting with the window down.      After the UC agent confirmed that

this was the correct car with Iribe-Laveaga, they ended the




                                       7
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 9 of 18 Page ID #:9



phone call.    Investigators conducting surveillance of the

parking lot saw the UC enter ALVARADO’s Toyota Corolla.

             The UC, wearing a concealed audio recording device,

sat in the front passenger seat of ALVARADO’s Toyota Corolla and

pulled a black duffel bag from the back seat of the Corolla and

placed it on his lap.    The UC attempted to unzip the duffel bag,

but the zipper became stuck.      ALVARADO reached over and helped

the UC agent fully unzip the duffel bag, revealing to both

ALVARADO and the UC agent 21 individually wrapped bundles of

suspected methamphetamine.     The bundles were wrapped in a

combination of plastic wrap and black tape.

             Based on my training and experience, I know that

methamphetamine is often packaged into individual bundles

weighing approximately one pound each, and each bundle is

wrapped tightly with plastic wrap, duct tape, or other

adhesives.

             The UC stated that inside the car, he counted the

bundles of suspected methamphetamine out loud in front of

ALVARADO and told him that everything “looked good.”          The UC

then told ALVARADO that he would go get the money, to which

ALVARADO asked if the UC agent was going to deliver all of the

money to him specifically.     At that point, the UC got out of the

Corolla and investigators arrested ALVARADO and seized the

suspected methamphetamine.

             During a search of ALVARADO’s person incident to his

arrest, investigators found the SUBJECT DEVICES.




                                       8
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 10 of 18 Page ID #:10



      D.     Field Test of Suspected Methamphetamine

             After ALVARADO’s arrest, RSO investigators field

tested the suspected methamphetamine that they recovered from

the Toyota Corolla.     The field tests positively indicated the

presence of methamphetamine.       The packages of methamphetamine

weighed approximately 21 pounds.

      E.     Iribe-Laveaga’s Flight and Arrest

             While ALVARADO was being placed under arrest, RDO

investigators attempted to arrest Iribe-Laveaga in the white

Audi A5, which was still in The Home Depot parking lot.           As RDO

investigators approached the Audi, however, Iribe-Laveaga drove

erratically through the parking lot to evade the arresting

agents.     Iribe-Laveaga then sped toward a residential

neighborhood in Ontario, California.        Iribe-Laveaga eventually

stopped the car and tried to flee on foot before RSO

investigators arrested him and took him into custody.

      F.     ALVARADO’s Statements

             According to the UC agent who met ALVARADO in the

Corolla, ALVARADO stated that he was going to be paid $600 in

exchange for successfully delivering the suspected

methamphetamine to the UC agent.       ALVARADO also admitted to the

UC that he has completed drug deliveries for Iribe-Laveaga in

the past.

             After his arrest, ALVARADO spontaneously told

investigators that the only reason he made these deliveries was

to support his family.




                                        9
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 11 of 18 Page ID #:11



            Additionally, after his arrest, ALVARADO spontaneously

asked investigators if they had caught the “other guy.”           I

believe ALVARADO was asking whether investigators arrested

Iribe-Laveaga.

            Later in the day on February 2, 2022, RDO

investigators interviewed ALVARADO at the Jurupa Valley

Riverside Sheriff’s Station located at 7477 Mission Boulevard,

Jurupa Valley, California 92509.       The interview was recorded and

investigators advised ALVARADO of his Miranda rights.           During

the interview ALVARDO told agents the following:

            a.    ALVARADO told agents his biographical

information, to include his full name and date of birth.

            b.    ALVARADO is not a United States citizen and was

from Culiacan, Mexico, where he worked in the construction

business.   ALVARADO arrived in the United States legally on

January 8, 2022, through a tourist visa.

            c.    ALVARADO has known Iribe-Laveaga for several

years.   Iribe-Laveaga told ALVARADO to come to the United States

to make more money.     ALVARADO suspected that Iribe-Laveaga

traffics drugs.

            d.    On January 9, 2022, the day after ALVARADO

arrived in the United States, Iribe-Laveaga directed him to

deliver a parcel via United States Postal Service (“USPS”).

ALVARADO later sent several parcels via USPS to recipients in

North Carolina, which Iribe-Laveaga explained were presents.

            e.    ALVARADO knew drugs were present in Iribe-

Laveaga’s residence at 7107 Vernazza Place, Eastvale,


                                       10
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 12 of 18 Page ID #:12



California.       There were also two firearms in Iribe-Laveaga’s

residence at 7107 Vernazza Place.       ALVARADO did not identify

where the firearms were within the residence.

             f.     On the morning of February 2, 2022, he saw the

black duffel bag containing the 21 pounds of suspected

methamphetamine in the kitchen of Iribe-Laveaga’s residence at

7107 Vernazza Place.       He knew that the bag contained drugs and

that Iribe-Laveaga was going to pay him $600 to deliver the

black duffel bag.

             g.     The delivery leading to his arrest on February 2,

2022, was the first time he had delivered methamphetamine.

      G.     Identification of ALVARADO and Discovery of Ghost Gun

             On February 2, 2022, after ALVARADO’s arrest, RDO

investigators executed the search warrant (5:22-MJ-00061) at

Iribe-Laveaga’s residence.       In one of the bedrooms,

investigators found several documents bearing ALVARADO’s full

name, matching the name given during his post-arrest interview

and as written on a Mexican Voter Registration Card recovered
during his arrest.

             ALVARADO’s bedroom contained documents bearing his

name only.    No documents with Iribe-Laveaga’s name or other

names were discovered in ALVARADO’s bedroom.         On ALVARADO’s bed,

underneath a pillow, RDO investigators found a Polymer80 Glock

9mm handgun with no serial number, with a magazine containing

nine bullets.       These firearms are commonly referred to as

“eighty percent” guns because they are purchased as a legally

incomplete firearm, allowing the purchaser to later assemble a


                                       11
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 13 of 18 Page ID #:13



fully functioning firearm from additional parts obtained through

often-illegal means, often omitting or defacing the firearm’s

serial number.    Based on my training and experience, this type

of unregistered and unserialized firearm is commonly used by

drug traffickers to circumvent the law and evade law enforcement

detection in the furtherance of their criminal enterprise.

            V. TRAINING AND EXPERIENCE ON DRUG OFFENSES

           Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

           a.    Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

           b.    Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where the drug trafficker has ready access to them, such as on

their cell phones and other digital devices.

           c.    Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,


                                       12
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 14 of 18 Page ID #:14



sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices.      Drug traffickers often keep records of

meetings with associates, customers, and suppliers on their

digital devices, including in the form of calendar entries and

location data.

           e.    Individuals engaged in the illegal purchase or

sale of drugs and other contraband often use multiple digital

devices.

           VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

           As used herein, the term “digital device” includes the

SUBJECT DEVICES.

           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have


                                       13
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 15 of 18 Page ID #:15



been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain




                                       14
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 16 of 18 Page ID #:16



software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it can take a substantial period of time to search a

digital device for many reasons, including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,


                                       15
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 17 of 18 Page ID #:17



which I know from my training, experience, and review of

publicly available materials:

           a.     Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.     In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.     The person who is in possession of a device or

has the device among his or her belongings is likely a user of

the device.     Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress ALVARADO’s thumb- and/or fingers on the



                                       16
Case 5:22-mj-00069-DUTY Document 1 Filed 02/03/22 Page 18 of 18 Page ID #:18



device(s); and (2) hold the device(s) in front of ALVARADO’s

face with his or her eyes voluntarily open to activate the

facial-, iris-, and/or retina-recognition feature.
           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                             VII. CONCLUSION

           For all of the reasons described above, there is

probable cause to believe that ALVARADO has committed a

violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii) (possession

with intent to distribute at least 500 grams of a mixture or

substance containing a detectable amount of methamphetamine).

There is also probable cause that the items to be seized

described in Attachment B will be found in a search of the

SUBJECT DEVICES described in Attachment A.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                   3rd day of
_________,
 February  2022.



HONORABLE SHASHI H. KEWALRAMANI
UNITED STATES MAGISTRATE JUDGE




                                       17
